         Case 1:20-cv-02987-AT Document 183 Filed 04/21/23 Page 1 of 6




               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION

LUCASYS INC.,

       Plaintiff,                                Civil Action File

 v.                                              No.: 1:20-cv-2987-AT

 POWERPLAN, INC.,

       Defendant.

      PLAINTIFF’S MOTION FOR PARTIAL SUMMARY JUDGMENT

      Pursuant to Federal Rule of Civil Procedure 56 and Northern District of

Georgia Local Rule 56.1, Plaintiff Lucasys Inc. (“Plaintiff” or “Lucasys”) moves

the Court for partial summary judgment, and requests that the Court find

Defendant PowerPlan, Inc. (“Defendant” or “PowerPlan”) liable as a matter of law

for a per se illegal negative tying agreement under 15 U.S.C. § 1 (Count III).

Lucasys further moves the Court to conclude that PowerPlan has monopoly power

or market power as a matter of law for purposes of its other antitrust claims

(Counts I, II, III, IV, V, XI, and XII). Finally, Lucasys moves the Court to find

that it has antitrust standing to bring its antitrust claims as a matter of law and enter

summary judgment in its favor as to PowerPlan’s first affirmative defense.

      As set forth in Plaintiff’s Brief in Support of this Motion, Plaintiff is entitled

to summary judgment on its per se negative tying claim against Defendant because
        Case 1:20-cv-02987-AT Document 183 Filed 04/21/23 Page 2 of 6




there is no genuine dispute of material fact that PowerPlan has appreciable

economic power in the tax software market for rate-regulated, investor-owned

utilities and that it used that power through a negative tying arrangement.

Customers were forced to accept the negative tying arrangement, which excluded

Lucasys from the separate tax services market. Summary judgment is therefore

proper, and the only outstanding question for trial is the amount of damage that

Lucasys suffered from PowerPlan’s negative tying arrangement.

      Similarly, Lucasys is entitled to summary judgment on the market power

and monopoly power element of its other antitrust claims (Counts I, II, IV, V, XI,

and XII). As detailed in its accompanying brief, there is no genuine issue of

material fact that PowerPlan has monopoly power in the tax software market. It is

also undisputed that PowerPlan has a differentiated product and that there are

barriers to entering the Tax Software market. Because Defendant has monopoly

power as a matter of law, Defendant necessarily wields lesser amount of market

power necessary for Plaintiff’s other Section 1 claims. Finally, contrary to

PowerPlan’s contention, Lucasys has antitrust standing to bring this action as a

matter of law, as it is a competitor to PowerPlan who has been harmed by

PowerPlan’s illegal acts, and Lucasys is an efficient enforcer of the antitrust laws.

      For the foregoing reasons, as set forth in more detail in the accompanying


                                         -2-
        Case 1:20-cv-02987-AT Document 183 Filed 04/21/23 Page 3 of 6




brief, this Court should grant Plaintiff’s Motion for Partial Summary Judgment. In

support of this Motion, Plaintiff relies on its Brief in Support of this Motion, its

Statement of Undisputed Material Facts, and all pleadings and filings of record.

      Respectfully submitted this 21st day of April, 2023.

                                /s/ Joshua A. Mayes
                                Richard L. Robbins
                                Georgia Bar No. 608030
                                rrobbins@robbinsfirm.com
                                Jason S. Alloy
                                Georgia Bar No. 013188
                                jalloy@robbinsfirm.com
                                Joshua A. Mayes
                                Georgia Bar No. 143107
                                jmayes@robbinsfirm.com
                                Rachel F. Gage
                                Georgia Bar No. 547982
                                rgage@robbinsfirm.com
                                Evan C. Dunn
                                Georgia Bar No. 535202
                                edunn@robbinsfirm.com
                                Robbins Alloy Belinfante Littlefield LLC
                                500 14th Street, N.W.
                                Atlanta, Georgia 30318
                                Telephone: (678) 701-9381
                                Facsimile: (404) 856-3255

                                Aaron Gott (admitted pro hac vice)
                                aaron.gott@bonalawpc.com
                                BONA LAW PC
                                15 South 9th Street, Suite 239
                                Minneapolis, Minnesota 55402
                                (612) 284-5001
                                Jarod Bona (admitted pro hac vice)
                                jarod.bona@bonalawpc.com

                                        -3-
Case 1:20-cv-02987-AT Document 183 Filed 04/21/23 Page 4 of 6




                     Jon Cieslak (admitted pro hac vice)
                     jon.cieslak@bonalawpc.com
                     BONA LAW PC
                     4275 Executive Square, Suite 200
                     La Jolla, California 92037
                     (858) 964-4589
                     (858) 964-2301 (fax)

                     Counsel for Plaintiff Lucasys Inc.




                             -4-
        Case 1:20-cv-02987-AT Document 183 Filed 04/21/23 Page 5 of 6




                        L.R. 7.1(D) CERTIFICATION

      I certify that this Motion has been prepared with one of the font and point

selections approved by the Court in Local Rule 5.1(C). Specifically, this Motion

has been prepared using 14-pt Times New Roman Font.

                                     /s/ Joshua A. Mayes
                                     Joshua A. Mayes
        Case 1:20-cv-02987-AT Document 183 Filed 04/21/23 Page 6 of 6




                         CERTIFICATE OF SERVICE

      I hereby certify that I have this day filed the within and foregoing with the

Clerk of Court using the CM/ECF electronic filing system which will

automatically send counsel of record e-mail notification of such filing.

      This 21st day of April, 2023.

                                       /s/ Joshua A. Mayes
                                       Joshua A. Mayes




                                         -6-
